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  Clinton Brown, Self-Represented
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  310-487-6453
                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

  CLINTON BROWN,
                                                    Case No. 2:23-cv-02938-MEMF-KS
                 Plaintiff,
                                                    Declaration of Sean Chaudhuri
         vs.
                                                    Judge: Honorable Maame Ewusi-Mensah
  STEVE SMEAD
                 Defendant.                         Frimpong

                                                    Magistrate: Karen L. Stevenson

                              DECLARATION OF SEAN CHAUDHURI

         I, Sean Chaudhuri, pursuant to 28 U.S.C. § 1746 declares as follows:

  Background

  1. I am the Executive Chairman of HST, the leading clean energy network provider with traction

     in 100 countries. HST helps clean energy buyers and sellers find each other and allows

     developers to accelerate their project feasibility efforts. HST offices are located at 3790 El

     Camino Real St, Suite 895, Palo Alto, CA 94306.

  2. From March 21, 2021, through the present, I have engaged with Clinton Brown, the CEO of

     Atlas, on various proposed solar projects on his properties, including the Delta (“Utah”)

     project.

  3. I submit this declaration in the above-captioned matter to provide factual information relevant

     to the allegations in the First Amended Complaint.

  Background Regarding Utah Solar Farm Project

  4. I received the Utah project due diligence files from Clinton Brown via email on October 22,

     2022.

  5. I sent the Draft Indicative Economics Across Projects, which included the Utah project, via

     email to Clinton Brown on March 2, 2023.
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  6. Brown’s property received a contract proposal for the Utah Project because, among other

      things, his property was the only property in the proposed project that had already been

      permitted for a Solar Farm.

  7. Brown’s property was also the only property in the proposed project that was granted a

      transmission right-of-way from Millard County, Utah, to connect to the grid. A right-of-way to

      connect to the grid is vital to the success of any solar project.

  8. Ultimately, Brown did not receive an executed contract for the Utah Project because the

      property is in ongoing Federal litigation over disputed ownership.

  Relationship Between Brown and Smead

  9. Because of my role as Executive Chairman of HST, I engaged directly with Clinton Brown and

      his Executive Team on the Utah project.

  10. Brown informed me that Smead had publicly filed a pre-foreclosure notice and a notice of sale

      on the Utah property.

  11. Brown and I mutually agreed to permit him to disclose confidential information about the Utah

      project to Smead, including the proposed contract.

  12. Brown disclosed the project information to Smead to prevent foreclosure by attempting to

      renegotiate the terms of their agreement concerning the Utah property.

  13. Without this confidential disclosure, the future of the Utah project was at risk due to its reliance
      on Brown’s property, which holds a solar permit and a right-of-way to the transmission line.

  14. Smead rejected Brown’s proposal(s).

  HST and Smead

  15. HST does not have a business relationship with Smead.

  Aftermath of Smead’s Actions

  16. HST revised the project's feasibility and, in collaboration with Atlas, was able to offer executed

      contracts to adjacent landowners for the $300 million Utah Solar Farm project.
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  17. The Utah Solar Farm project closed on May 16, 2024, without including Brown’s property,

     resulting in Brown not receiving the $6,135,068.21 he would have earned if his property had

     been part of the executed contracts for the Utah Solar Farm.

  Conclusion

  18. To aid in the drafting of this declaration, I reviewed certain emails, texts, and files pertaining

     exclusively to the Utah project.



  “I declare (or certify, verify, or state) under penalty of perjury under the laws of the United States

  of America that the foregoing is true and correct.”



  Dated: May 17, 2024                                                           __________________

                                                                                   Sean Chaudhuri
